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Counsel for Two Sisters, LLC

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

In re:                                         §    Chapter 11
                                               §
RICHARD KEVIN RUSSELL                          §    Case No. 22-41793-MXM
                                               §
                   Debtor.                     §

                                     NOTICE OF HEARING

         PLEASE TAKE NOTICE that a hearing on Two Sisters, LLC’s Motion for Relief From the

Automatic Stay (the “Motion”) [Dkt. No. 144] will be held on January 26, 2023 at 9:30 A.M.

Central Time before the Honorable Mark X. Mullin, United States Bankruptcy Judge for the

Northern District of Texas, Fort Worth Division, Room 128, U.S. Courthouse, 501 West Tenth

Street, Fort Worth, Texas 76102 and via WebEx.

                                      WebEx Information

For WebEx Video Participation/Attendance:

         Link: https://us-courts.webex.com/meet/mullin

For WebEx Telephonic Only Participation/Attendance:

         Dial-In: 1.650.479.3207

         Meeting ID: 474 603 746

WebEx Hearing Instructions may be obtained from Judge Mullin’s hearing/calendar site:

         https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-mullin-hearing-dates.
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DATED: January 4, 2023                               Respectfully submitted,

                                                     /s/ Jeff P. Prostok
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                                                     Counsel for Two Sisters, LLC

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
served via ECF Electronic Notice, where available, and via first class mail on the parties listed on
the attached service list and on the parties listed below on this 4th day of January 2023.

                                                     /s/ Jeff P. Prostok
                                                     Jeff P. Prostok
